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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
v.                                   )       Case No. 1:18-cr-410
                                     )
                                     )
SEITU SULAYMAN KOKAYI,               )       Trial Date: April 8, 2019
                                     )
      Defendant.                     )       The Honorable Leonie M. Brinkema
____________________________________)



              TRIAL BRIEF ON BEHALF OF SEITU SULAYMAN KOKAYI

       Seitu Sulayman Kokayi is charged with two counts of Coercion and Enticement of a

Minor (18 U.S.C. §2422 (B)), and one count of Transfer of Obscene Material to a Minor (18

U.S.C. §1470). The following is submitted to assist the Court.



I. FACTS

       The defense has not stipulated to the admission of the audio and/or written transcripts that

are offered by the government as evidence in this case. As articulated in open court, and as

argued in its prior motion to suppress, the defense objects to this evidence as being

unconstitutionally obtained. The government and Court have ostensibly obtained full knowledge

of the basis on which, and manner in which this information was obtained. Still, the defense has

not been provided with any of that information, and maintains its position in opposition.

       Without waiving this objection, and assuming, arguendo, that this evidence is admitted,

the government has proposed as an exhibit a chart with all of the alleged phone contact (via text



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messages, telephone calls and Facetime) between Seitu Sulayman Kokayi (hereinafter

“Sulayman” or “defendant”) and MFV (counsel will use the same designation the government

used to identify the alleged victim in the case). Based on the nature of this case, the history of

the relationship between Sulayman and MFV, the inaccurate allegation that Sulayman chose

MFV as a target and/or was “grooming” her for sexual conduct, the phone call evidence needs to

be considered in its entirety.

       In its trial brief and the expected evidence, the government has picked out a handful of

passages from a handful of conversations between Sulayman and MFV, and has not accurately

characterized their relationship. This involved a longer term, and substantial relationship that

ultimately developed into an emotional relationship.

       The relationship started as student/religious instructor relationship, but began to evolve

into something more significant. As articulated by Special Agent Sean Clark, and acknowledged

by Sulayman “[h]ow like a man and a woman, or someone who loves each other or just cares for

each other has that emotional connection.” (GX 56; with transcript, at page 14). The shift in the

dynamic between MFV and Sulayman was seemingly precipitated by the disclosure that MFV

had a crush on him (see GX 29). At that time, MFV was a post-pubescent, physically mature

young woman, and Sulayman was unaware of her actual age (at times, MFV indicated to

Sulayman directly that she was anywhere from 16-18 years old) (see GX 22; GX 29; GX 34; GX

56). In addition, the conversations that took place regarding the deepening of the feelings

between the two took place when MFV was not in the Washington DC area.

       Focusing on the time period highlighted in the government’s case (August 3 – August

23), as noted by the government, there were many contacts (most of which were telephone calls)

between Sulayman and MFV (GX 75). That contact was initiated by both Sulayman and MFV


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at different times, and MFV, at times, exhibited frustration and impatience when Sulayman did

not immediately answer her calls. (see GX 22). The government noted that the segmented total

time of the telephone calls amounts to over 32 hours. Upon information and belief, the

highlighted segment of calls offered by the government as separate exhibits to support their

allegations amounts to somewhere between 1-2 hours. The remaining 30 to 31 hours of the calls

represents meandering, patient, and supportive conversation between friends. The conversations

at times drifted into topics such as light-hearted extended exchanges of answering yes/no to each

other (see GX 44), light-hearted extended exchanges of saying hello repeatedly to each other (see

GX 38), extended time discussing likes and dislikes in general (see GX 32; GX 40), an

approximate ten minute segment during which Sulayman deeply confided in MFV about the

difficulties he had growing up when his father abandoned him (see GX 44) and sharing a video

game challenge (see GX 22; GX 80) among other non-specific and seemingly idle banter. Many

of the conversations take place while either or both of them are performing tasks, such as

cleaning (GX 40) or baking (recorded conversation from August 7, 2018, transcript p. 1) or

cooking (see GX 80).

       The phone calls during this time period were made while MFV was staying with her

family in the Midwest. She and her sister were visiting and staying with her Aunt, Uncle and

three cousins (much younger). There were no calls made while MFV was alone in the house

(which had seven people staying in it). During many of the phone calls, MFV had Sulayman on

speaker phone (see GX 22). Also during most of the phone calls, there are many occasions

where background noise and chatter is audible, and when other people, including MFV’s older

sister are featured and join in on the conversations (GX 77). There are a few examples from the

government’s highlighted excerpt exhibits during which Sulayman and MFV are speaking in


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subdued, and at times whispered tones, due to the fact others (particularly MFV’s younger

cousins) in the house are sleeping. During one of those conversations, MFV acknowledges that a

baby wakes up (GX44; 8/19/18; transcript at p. 4).

       The narrative created by the government that this is a case of someone picking out a

victim and “grooming” her is completely unsupported by the facts. The relationship did begin

with Sulayman as a teacher. As noted, MFV was practicing Quran with him 5-6 years ago, went

to a different location to do the same thing, then came back to Sulayman’s Masjid about a year

ago.

       There were no indications of any “grooming.” Sulayman had known MFV for a

significant period of time, and just became closer to her after finding out she had a crush on him.

Sulayman indicated that he had not been planning this relationship. (GX 56; transcript p. 37). It

is important to note that Sulayman had been under extraordinarily close government scrutiny and

surveillance for a significant period of time. Although the exact length of the government’s

surveillance is not known to the defendant, it is believed to have lasted for more than two years.

       During the government’s surveillance and subsequent investigation of Sulayman, the

government has not only had access to all his communications, it has had access to basically his

entire personal history, particularly the last several years. The government has had an

opportunity to review all of his social media postings, emails, and text messages, as well as

examine the contents of his computers, phone, and “cloud” storage. Outside of the allegations of

the present charge, there is no indication anywhere that Sulayman possessed any inappropriate or

illegal materials (such as child pornography), or exhibited any conduct consistent with what is

alleged. In addition, Sulayman and MFV never exchanged nude photos, and Sulayman never

asked or pestered MFV for nude photos. Moreover, there is absolutely no history of any


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inappropriate conduct involving any other underage, or even adult, females. Sulayman did not

spend time in internet “chat” rooms looking for young girls. There is, however, every indication

that the emotional connection experienced and displayed between Sulayman and MFV in this

case was unique, and aberrational. And that the connection was a genuine emotional connection,

albeit inappropriate.

       The masjid at which Sulayman was an instructor involved a class of approximately 50

students who he taught twice per week (GX 56; transcript at p. 32). The students’ ages ranged

from 5-18 years old (see GX 56; transcript at p. 12), and Sulayman had “a relationship with

pretty much everyone in the class.” (Id. p. 12). In addition, FaceTime communication with the

students was normal, to ensure that the students were reciting passages from memory, and not

simply reading passages from the Quran.

       It is admitted by the defense, as it was admitted by Sulayman himself during his

interrogation, it was a mistake “in talking to her in the first place. And then, just like

conversations I shouldn’t have had, like, since I’m married too and, like, I’m the teacher. I teach

certain people to do things so I shouldn’t be doing stuff myself . . . I was, that’s being

hypocritical” (GX 56; transcript at p. 25-26). It is admitted and acknowledged that the emotional

connection and communications that took place were inappropriate and improper, given the ages

of Sulayman and MFV. However, the Defendant’s conduct did not violate the law as alleged by

the government. In fact, Sulayman told MFV “we’ll just have to find out how it goes once we

get back, but I feel like we need to be careful around each other, OK?” (GX 29).

       Although, at times, the two would contemplate meeting when she returned to her home,

these discussions were hypothetical, and were typically addressing sometime in the future, even

for periods of years. There was never any planned date, place or manner to meet. Thoughts and


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ideas were discussed, with no real intention on following through. At times the defendant stated

that physical interactions could not and should not happen.

       Examples of this include:

“K: No, I said, do you want stuff- you should think about, let’s say, stuff happening with the
person you like? Right? But then I said, it shouldn’t unless obviously like, you’re married,
whatever. Right? But then I said, well, it can happen in your dreams, and that’s what dreams are
for.
(GX29; 8/9/18; transcript p. 10)

“K: I said, ‘Maybe I won’t, I will be able to see you but I said you probably won’t be able to get
out of the house.’
MFV: True.
K: Uhh. The waiting game is always there.”
(GX34; 8/11/18; transcript p. 16)

MFV: No, I said, ‘I’ll be a constant reminder of your suffering.
“K: Oh, I know. Well, I’m the same for you so, touche’.”
(GX33; 8/11/18; transcript p. 13)

“K: Look, I’m saying, have you thought about us in the future?”
(GX44; 8/19/18; transcript p. 44)

“K: When you’re home will you actually be able to talk to me?”
(GX52; 8/22/18; transcript p. 15)

       In fact, during his interview with the FBI, the defendant told the agents that he was

contemplating stopping all communication with MFV. (GX56)

       It should be noted that not all of the sexually related conversations were initiated by

Sulayman. At times, MFV would initiate the sexual related talk, and would be flirtatious and use

sexual innuendo. These include:

“MFV: I said at first, like I was saying, like, the first time I think I had a crush on you right [UI]
. . . I thought it would be easy.
K: Yeah.
MFV: I was like, oh I’ll probably get over it, I don’t know him that much. [UI]
(GX29; 8/9/18; transcript at p.1)

“K: What the- , I’m coming.


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MFV: How fast [laughing]
K: Mmm. It might take all night, but that’s ok.
MFV: Ohh. Okay.
K: Yeah?
MFV: Said okay.
K: It would be an amazing surprise, huh?
MFV: And a painful one.
K: Why?
MFV: You don’t get it, but it’s okay. [laughing]
K: [laughing] Oh, my God.”
(GX40; 8/15/18; transcript at p.6)

“K: Don’t make me come through this stupid phone.
MFV: Please don’t.
K: Why?
MFV: I don’t want to get my phone um covered in slime [laughing].
K: Oh you got jokes?
MFV: [laughing] [sigh].”
(GX44; 8/19/18; transcript at p. 15)

MFV: [laughing] You’re cute as fuck though.
K: [whispering] What’d you say?
MFV: I said, “you’re cute as fuck.”
(GX44; 8/19/18; transcript at p. 42)


II. ANALYSIS

   1. Counts One and Two

       The first two counts of the indictment allege a violation of 18 U.S.C. §2422(b). This

statutory section is contained within Chapter 117 of the United States Code, entitled

“TRANSPORTATION FOR ILLEGAL SEXUAL ACTIVITY AND RELATED CRIMES.”

The language of §2422(b) provides that “[whoever, using the mail or any facility or means of

interstate or foreign commerce, or within the special maritime and territorial jurisdiction

of the United States knowingly persuades, induces, entices, or coerces any individual who has

not attained the age of 18 years, to engage in prostitution or any sexual activity for which any

person can be charged with a criminal offense, or attempts to do so, shall be fined under this title


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and imprisoned not less than 10 years or for life.” This subsection differs from subsection (a) of

§2422 in that it requires a mandatory minimum sentence of 10 years, yet the only difference in

the language of the two subsections is that indicated above in bold. Thus, using a “means of

interstate or foreign commerce” elevates the exact same underlying conduct to a ten year

mandatory minimum. As the Court is aware, the case law interpreting the statute has provided

that the use of a cell phone or the internet can be a means of interstate or foreign commerce.

       The construction of these code sections has led to inconsistency of interpretation

concerning the case law relating to them. The statute has an organic attempt provision, and

references the violation of “any law.” The attempt aspect will be addressed below. Nonetheless,

“any law” has been interpreted to mean any federal or state law of an appropriate venue wherein

a defendant could have been charged with a sexual offense. United States v. Dingra, 371 F. 3d

557 (9th Cir. 2004). Still, common sense review of the statute, and the case law interpreting it,

provides the notion that often times the statute criminalizes and punishes much more severely,

conduct which is also punishable by state law.



       A. Persuade, Induce, and Entice

       As the Alexandria Division of the Eastern District of Virginia has stated, “the statute's

primary focus is on adults using the Internet to seek out and persuade minors to meet for the

purpose of engaging in sexual activity.” United States v. Kaye, 451 F. Supp. 2d 775, 781 (2006)

(affirmed by United States v. Kaye, 243 Fed. Appx. 763(4th Cir. 2007)). To convict under §

2422(b), the Government must prove the following elements beyond a reasonable doubt: (1) use

of a facility of interstate commerce; (2) to knowingly persuade, induce, entice, or coerce; (3) a




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person who is younger than eighteen; (4) to engage in an illegal sexual activity. See United

States v. Helder, 452 F.3d 751, 755 (8th Cir. 2006) (citations omitted).

       Although the terms "persuade," "induce," and "entice" are not statutorily defined, we

have found that they are "words of common usage" and have "accord[ed] them their ordinary

meaning." United States v. Engle, 676 F.3d 405, 411 n.3 (4th Cir. 2012). Moreover, these terms

are "effectively synonymous," conveying the idea "of one person leading or moving another by

persuasion or influence, as to some action [or] state of mind." Id. (alteration in original) (internal

quotation marks omitted). United States v. Clarke, 842 F.3d 288, 296. In addition, “by

emphasizing that the jury must find that Defendant "le[d] or mov[ed] [a minor] by persuasion or

influence" to engage in sex acts, the district court's jury instructions required the jury to find

that Defendant made "an effort to alter [a minor's] mental state," rather than "merely convey[ing]

the notion of 'causation … .'" Id.

       Looking at the facts of this case, Sulayman was not “using the Internet to seek out and

persuade minors to meet for the purpose of engaging in sexual activity.” Rather he was using his

iPhone to communicate with a young woman he had known for years (MFV), using normal

phone lines, and other apps that he had been using to communicate with her for years. MFV had

already expressed an interest in Sulayman, and did not need to be led or moved to a state of mind

by Sulayman. The conversations between the two were genuine and organic, and evolved into

conversations with portions having a sexual nature. In addition, some of the sexual talk was

initiated by MFV. Finally, even after the sexual talk became part of the conversations, the other

aspects of the conversations persisted; the purpose of the conversation was not to just to speak

about sex. Accordingly, the evidence will not be enough to prove beyond a reasonable doubt




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that Sulayman persuaded, induced, or enticed MFV to engage an illegal sexual activity, as those

words have been interpreted by the case law.



       B. Substantial Step Or Significant Conduct

       Next, with regard to the attempt provision of §2422(b), “in order to convict a defendant

of attempt, the government must prove beyond a reasonable doubt, that (1) [the defendant] had

culpable intent to commit the crime and (2) he took a substantial step towards completion of the

crime that strongly corroborates that intent.” United States v. Engle, 676 F.3d 405, 419-20 (4th

Cir. 2012) (citing United States v. Neal, 78 F. 3d 901, 906 (4th Cir. 1996)). With regard to the

particular type of attempt in this statute, The Engle opinion notes “’[a]n attempt to commit a

crime, which is recognized as a crime distinct from the crime intended by the attempt, punishes

conduct that puts in motion events that would, from the defendant’s point of view, result in the

commission of a crime but for some intervening circumstance.’” (citing United States v. Pratt,

351 F. 3d 131, 135 (4th Cir. 2003)). In addition, “[t]he ‘mere intent to violate a federal criminal

statute is not punishable as an attempt unless it is also accompanied by significant conduct.’”

(citing United Staes v. Resendiz-Ponse, 549 U.S. 102, 107 (2007)). Engle, 676 F.3d at 419.

       Put another way, the Government must also prove that Defendant: (1) acted with the kind

of culpability required for a conviction of the underlying substantive offense; (2) engaged in

conduct that constitutes a substantial step toward commission of the crime. United States v.

Kaye, 451 F. Supp. 2d 775, 782 (2006) (affirmed by United States v. Kaye, 243 Fed. Appx.

763(4th Cir. 2007)) (citing United States v. Farner, 251 F.3d 510, 513 (5th Cir. 2001); United

States v. Helder, 452 F.3d at 755 (8th Cir. 2006)).




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       Moreover, the Engle Court stated, “[f]or purposes of the crime of attempt, a substantial

step is a direct act in a course of conduct planned to culminate in commission of a crime that is

strongly corroborative of the defendant's criminal purpose. It is more than mere preparation but

less . . . than completion of the crime. Whether conduct represents a substantial step depends on

the 'surrounding factual circumstances; and the determination is necessarily fact specific.” Engle

at 423 (internal citations and quotes omitted).

       Hence, one final inquiry under the statute is whether Defendant's conduct constitutes a

"substantial step" toward the commission of the crime. Pursuant to Kaye, “[t]his element is

satisfied by actual, objective acts that, independent of Defendant's mental state, strongly

corroborate and provide unequivocal evidence of his culpability. Kaye, 451 F. Supp. 2d at 787

(citing United States v. Root, 296 F.3d 1222, 1228 (11th Cir. 2008)). Moreover, “[a]lthough

‘words and discussions would usually be considered preparations for most crimes, a specific

discussion could be so final in nature that it left little doubt that a crime was intended and would

be committed.” Engle, 676 F.3d at 423 (citing United States v. Pratt, 351 F. 3d 131, 136 (2003)).

       Finally, courts are to consider the "totality of [the defendant's] conduct to determine

whether the record supports a finding that he "committed a substantial step" toward persuading

or enticing a minor to engage in a sex act. " United States v. Lee, 603 F.3d 904, 916 (11th

Cir.2010); United States v. Yost, 479 F.3d 815, 820 (11th Cir. 2007).

       In the present case, there was no substantial step or significant conduct that accompanied

the sexual talk. No solid plan was ever expressed or agreed upon to meet for sexual acts and/or

intercourse to be performed. The defendant did not travel to where MFV was contemporaneously

with on-going conversations. And to the extent there were discussions that included what it

might be like to follow through with any meeting, there were also discussions as to why they


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should not follow through. In addition, to the extent the government takes the position that the

FaceTiming in the shower is a substantial step, it is noted that MFV corroborates only one such

session, where nothing sexual was requested of MFV or shown by MFV. Moreover, regarding

any requests by Sulayman to MFV to masturbate, there will be no evidence that he asked her to

stream it to him on FaceTime. Based on the totality of the circumstances, including all of the

non-sexual conduct, it cannot be concluded that any substantial step or significant conduct

occurred that would rise to the level necessary for a conviction beyond a reasonable doubt.



       C. Underlying Illegal Sex Act

       Finally, it is important to note that the elements of the underlying illegal sex act, or

“sexual activity” as its referred to in the statute, must be proven. See, e.g., United States v. Kaye

451 F. Supp. 2d at 782 (“the Government must also prove that Defendant: (1) acted with the kind

of culpability required for a conviction of the underlying substantive offense… .”). Hence, the

government must provide evidence that the defendant attempted to entice MFV to engage in acts

that would have led to a conviction under the state and/or Federal statutes relating to the alleged

sexual activity.

       Accordingly, for Count One, the government will need to further prove a violation of 18

U.S.C. § 2251, Virginia Code §18.2-374.1, and Minnesota Statutes, §617.246 (all relating to the

production of child pornography).

       As for Count Two, assuming, arguendo, that the government can establish the

appropriate jurisdictional requirements for Washington D.C. and Maryland, the government will

further need to prove a violation of Virginia Code §18.2-371, Code of the District of Columbia,




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section 22-3008, and Code of Maryland, criminal law, section 3-307(A)(4) and (5) (all relating to

adult engaging in sexual acts with a minor, of various ages depending the particular statute).

       Moreover, for each of Count one and Count two, the substantial step or significant

conduct that the government attempts to prove necessarily must relate to the underlying criminal

sexual acts defined for each of the counts.



   2. Count Three

       Under Count Three of the indictment, the government must prove that Sulayman “using

the mail or any facility or means of interstate or foreign commerce, knowingly transfer[ed]

obscene matter to another individual who has not attained the age of 16 years, knowing that such

other individual has not attained the age of 16 years, or attempt[ed] to do so … .” 18 U.S.C. §

1470 (emphasis added). Accordingly, under this statute, a defendant must have actual

knowledge that the recipient of the material has not obtained the age of 16 at the time the

material was transmitted.

       As the facts of this case show, there were many discrepancies concerning how MFV

portrayed her age to Sulayman. Even during the FBI interview, Sulayman maintained that he was

unaware of MFV’s actual age, and the agents conducting the interview seemingly concurred with

the notion that there was a range of potential ages, and were trying to make sure that those ranges

were under 18 years old. Moreover, during the phone conversations when MFV talks about her

age, she leaves it ambiguous, with and on at least one or two occasions indicates an age over 16

years to Sulayman. Accordingly, the government will not be able to prove beyond a reasonable

doubt that the defendant had actual knowledge that MFV had not attained the age of 16 years.




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       In addition, there will be no evidence to definitively establish what images were

transferred, if any, via Face Time. Thus, it is impossible to undertake the analysis pursuant to

Miller, as espoused by the government.

III, Conclusion

           For the reasons discussed above, it is respectfully submitted that the government will

be unable to meet its burden to prove the allegations set forth in the indictment beyond a

reasonable dount.



                                                     Respectfully submitted,

                                                     SEITU SULAYMAN KOKAYI
                                                     By Counsel




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                               CERTIFICATE OF SERVICE

       I hereby certify that on or before the 7th day of April, 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

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